     Case 3:18-cv-02199-JPG-RJD Document 1-1 Filed 12/20/18 Page 1 of 15 Page ID #7



                                                                                                                                               .Jerser Caunry,      lll.     2418-L-20

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                                                                                                                                                         Jersey   ('ounty, l. 2018-L-20


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                                      IN   THE C]RCUIT COI]RT
                                  SEVENTH JUD]CIAI DISTRICT
                                   JERSEY COUNTY, ILLINOIS




      JAMES MGADAMS, ET          AI                  )
                                                     )
              ?L.AINflF4                             )
                                                     )
      vs_                                            )       No: l8-L-2D
                                                     )       CoNolidat6d With
      DAEDONG INDUSTRIAL           CO,       LTD )           No: l?-L-20
      d/b/a KIOTITRACTOR        DMSIO\           )
                                                 )
             DEFENDANTS.                         )
                                           AI'AII SI'MMONS
     DEFENDANT: SHINDONG INDUSTRIAL CO. LTD
                R A: Gonbuk-rc 82, Golyaag-EyeoDr Sacheoo-si
                Cyeotrg6aig[aE-do 52504, Kore.


              You are hergby sutnmotred atrd rEquired to file an answq i,l thir caso, or otherwise
     6le ,our appearance, in the office ofthe Je$ey Couaty Circuit Cle*, within 30 days after
     se.rvice ofthis euEmoDs, exclusive ofthe day ofservice. Ifyou f.il to do so, sjudguetrt or
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    (?laiitifrs atlomey or plaintifr if he is not represented by an attomey)
    Jsre Unsell, #03124410
    UNell, Schathik & Phillipe, P.C.
    3 s. 6e stliet
    troodRiver,IL 62@5
     (618)2s8-1800
    jaleuDsell@gauil.oom                                                               ',#-"_#*.F=



    Date of Service;   _ ___                   - ,20
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                                                                             a/1712018 11:00 AM
                                                                             CHARLES   E   HUEBENER
                                                                             CLERKOF THE CIRCUII COURI
                                                                             JERSEY COUNTY, ILLINOIS

                                 IN TIIE CIRCU]T       COURT
                            SEVENTH .]I]DICIAI DISTRICT
                             .JERSEY COUI$IY, ILI,INOIS

  JBI.{ES MeADllMS alld
  .IO ANN UCA.DAMS,

         Plaintiffs,                                                2018L20
  v5.                                              No. 18-IJ-
  SHINDOIIG INDUSTRIAI,     c1c., LTD.
               DefeadanEs.
                                      cottPt D.IN?

                           FACAS COIarcN TO        AII,   COT'NTS

         eomes now     tbe Plaintiffe,   JA}{ES MCADAMIi a1td JO ANN MeADIMS,

  by and through Eheir atstofiEye Jane Uneefl and Erin M. phillip6
  of the     1aw   flrm Unsell, schattnik, & PhillipB, P.C., and state                        a6
  fol1o!'rs:
      1. PlaiDtsiff, .Tames McAdams, reEides in (arle, Creene
 coulty, rllinois.
      2. PlaiBt.iff, Jo Anrt McAdams, resideE ifl Kane, ereeDe
 couaty, fllinoiB.
      3- At all times meEtioDedl herein, plajlrtj,ff James
 McAdame nra6 ettE loyed    by   XRAUSE -AliD SON,        INC. d,/b,/a   PRAIRTB LAND

 POWER located at 1101 W- Carpenter Street., irerEeyvllle, ,fer6ey
 eourty. I11inoiE.
        4,     AE   all times mefltioned hereifl,          !G.*,USE At{D   soN, INc.
 d/b/a PRAIRIE LAND POWER was an corporaEion iDcgrporated under
 tshe laqrs of the Stsatse of IllinoiE, witb its prillcipal place of

 No. t8-L-                           Page   I of   9
Case 3:18-cv-02199-JPG-RJD Document 1-1 Filed 12/20/18 Page 7 of 15 Page ID #13




 business in .Tersey county, I11inois.
       5.  At all times mentj.oned herein, DAEDoNG-USA d/b,/a (IoT1
 TRACTOR DIvIsIoN was a corporation incorporated under tbe lar'rs of

 the state of Not!.h Carolina.
       6.    At all times mentioned herein, Defendant SHINDoNG
 IIIDUSTRIA], CO., LTD !^ras a south Korean compauy-
       '7. On or abouE August L8/ 2016, DAEDONG-USA d,/b/a KIoTI
 tRAcroR DIVISIoN was engaged j-n tshe businegE             of designing    and

 manufacturing tractors, Parts, and equipment and placed same for
 sale in Jersey county, rflinois ats I(RAUSE AND soN, rNc., d/b/a
 PRAIRIE LAND PowER alrd      other area8 of I1linois.
       8.      On   or before August 18, 2016,         DAEDONG-USA    d,/b/a KroTr
 TRACToR DIvIsroN, or its agents, supplied a Kioti Tractor, Model
 No. cK4oloH H. serial No. RR7oo0557 fitted with a Kiot.i Quick
 Attach PIaEe, Model No. KL401o, rtem No.               K,J4010QA66,   Serial   No.

 SH5Ot22l33, to Plaintiff's       employer,          KRAUSE AND   soN, INC. d/b/a
 PRAIRIE LAND POWER     in .Terse).vi1Le, Il1inois.
       9.      The aforementioned Quj,ck Attach Plate was part of               a

 loader and bucket fitsEed onto Ehe Kioti bractgr and                was

 manufactured by Defendant SHINDONG INDUSTRIAL Co., LTD.
       10.     AE   all times mentioned hereiE,         WORXSAVER,   INC. lvas a
 corporatiolt incorporated under the laws of the State of Illirrois
 with a principaf place of businegs located at 9 Worksaver Trail,
 Litchfield,     I11inois.

 No, 18-L-                         Page 2   of   9
Case 3:18-cv-02199-JPG-RJD Document 1-1 Filed 12/20/18 Page 8 of 15 Page ID #14




       11.    On   or about August 18, 2016, WORKSAVER, INC,            $/as

 engaged in the business of designing and manufacturing tractor
 parts and equipmeflt in Litchfield, I1linoi6 and placed Eame for
 6a1e in ,Jersey Colrlty, fllinois         at Prairieland Power and other
 areaE of I11inois.
       f2.    On     or about   AugRist   18, 2016,    WORKSAVER,   INC. or its
 agentg, supplied a grapple attachment, ften No. 811090, Serial
 No. 1608-09548. that \ras thereafter attached to the tractor by
 the Kioti Quick Attach Platse,
      13. Ofl or about August 18, 2016, Plaintiff               James McAdamE
 was operatilg the aforernentioned equipment eonsisting of the
 Kioti tractor, Kioti Ouick Ateach Plate, ShirDong InduEtrial Co.,
 Lcd's loader and bucket, and Worksaver,s grapple in the course
 alrd scope of his employment at the Prairie La[d povrer store in
 ifersey County i!! preparation for delivery of the equipment to a
 customer.
     14. On or about August !8, 2OL6t plaintiff was operating the
tracEor wittr the grapple attached by the Kioti euick Attach plate
in the course of his employment at vrhich time he iaised Ehe
grapple into the air by extendiflg the tractor.s front end
hydraulic    arms.
       15.   or about August 18, 2016, when the front
             On
end hydraulic arms of the tractor were fully extended into the

air the Worksaver grapple detached from the euick Attach plate

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 and felt upon Plaintiff.
      L6. Plaintiff suffered injuries to hls head, neck, and
 body ilcluding, but aot. limited Eo, physical, neurological,
 psychoLogical damages aE a resulE of b€ing struck by the
 worksaver grapple wher it detached from the Kioti Eractor and
 Kioti Quick Altach Plate.
                                          COIJMI       I
                                  PRODUCT     IITABI]'ITY

            Comes now Ehe   plaintiff,     JAMES MCADAMS,    by and through his
 attorneys, Jane uDse11 and Erin M. Phillips Of the laL' firrn
 Unse11, schattnik & PhilLips, P.c. and for Count I of his
 compLaint again6t Defendant             SHINDONG INDUATRIAJ,   CO., LTD staCes
 that   :

                P1ainCiff hereby restates and incorporates
            1 16.
 paragraphs 1 througtr 16 of the Facts Commot! to AII Counts as
 paragraphs 1 through 15 of Count I.
            f7.     AC Che above time and         pIace, the combination loader
 and Quick Attach Plate were rmreasona.bly dangerous or defective
 condj.Eion in one or more of the following respects:
            a.    The cornbination loader and Quick Attach Plate were
                  desigrred, nanufactured and sold wittrout an adequate
                  latching system that did not allow for proper securing
                  of equipment to the Quick Attach P1ate which allowed
                  for the improperly attached equipment to detach from
                  the plate and fall upon Plaintiff.
            b.    The Quick Attach Plate contained a latch that could not
                  properly withstand normal exertion placed upon the
                  quick attach plate during use of Ehe equipmen! and
                  tractor involved in this case which allowed the grapple
 No. 1g-L-                               Page 4   of   9
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                to dislodge and faII resulting in injures to Plaintiff.
          c.    The Qulck Attach Plate had iasufficient safeguards to
                prevenb a grapple or oEher attachment fron detaching
                from the quick attach pLate h,hen the quick attach was
                fuI1y exEended which allowed the grapple to disLodge
                and fatl upon Plaintiff.
          d.    The Ouick Attach Plate did not contailr adequate
                walnings of 6uch defecEs,
          e.    Defendant and its agentE fal1ed to teLl- or warn
                Plaintiff the quick attach plate could fail to secure
                equipment such as a bucket, front-end loader or
                grapple   .

      18. The corntcination loader and Ouick Atslach Plate
 manufacEured by SHINDoNG INDUSTRIAL Co., LTD. were in thi.s
 unreasonably dangerous and defecEive condition at the time Ehey
 were provlded to Plaintiff,         .ITMES MCA.DAMS,   in   tshe course   of his
 emplo)4nents.

          19.    As a directs and proximate result of the unreasonably
 dangerous or defective condition of the coinbinacion loader and
 Quick Attach Plate prowided by Defendant,             SHINDONG INDUSTRIATJ

 Co., LTD., Plaintiff         was injured when the grapple attached to the
 tractor by the cornlcinaEion loader and Quick Attach Plate delached
 from the Quick Attach Plate and fe11 upon Plaintiff causing him
 to susEain severe altd perrranerrt injuries.           Plaintiff   rras artd lrilI
 be hindered and prevented from aEtending to his usual and
 customary affairs, duties and occupatioll, and ha6 lost and wilt
 in the future lose Ehe value of tshat time. PlainEiff also
 suffered great pain ard anguish, both in mind and body, and will

 No. 18   L_                         Page 5   of   9
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  in Ehe futsure contj.nue to suffer disability arld be prevented from
  atteoding to the ordinary affairs of life due to his injuriee.
             Wherefore, Plaintiff,       JAMES MCADAMS,          prays for judgment
  against the Defendants,            SHINDONG INDUSTRIAI          CO., Lm., for an
  amount        ir e*ceBs of FIFTY      THOUSAND DOTLARS          ($5o,OOO.OO), plus

  costs and such further relief as the Court deems proper and just.
                                            COI'NT       II
                                           NEGI,IGENCE

             Comes   nori the Plaintiff,     .fAMES MCA.DAMS,       by and through hls
  attorneys Jane Unsell and Erin M. Phillaps of the 1aw firm
  Unse11, Schattnik, & Phiflips,               P.C., and for count 11 of his
  complaint against Defendant              SHINDONG INDUSTRIAI         CO., LTD. states
  that   :

             146-        Plaintlff     restates and incotaporates by reference
 the allegations of Paragraphs      1 through 16 of this complaint
                                             Nos.
 as Paragraphs Nos. 1 through 15 of Count II as set forth ful1y
 hereirl.
             l-5.     Defendant      SHTNDONG fNDUSTRICAI,        CO., LTD. aEd its
 agerrts had a duty t.o manufacture an attactrment device wltich would
 properly and safely secure heavy equipment such as buckets,
 front-end loaders, arld grapples to Defefldant, s tractor during


             15. Defendant   SHIIIDONG INDUSTRIAI             CO-, LTD. and   its   agents
 not. regardingtheir duEy to plaintiff and others, were negligent
 aod careLess in providing equipment that did Dot function
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  properly and safely        when    it   provj.ded an attachment device thaC
  did not safely secure hean/ equipment such as buckets, grapples
  and fronl-end loaders to Defendant ' s tractor.
       Ptaintiff furEher alleges as Eo Defendant afld its agents:
       a. The combination loader and Quick Attach Plate vtere
            desigrred, manufactured and sold without an adequace
            latching system ttrat did flot affow for proper securing
            of equipment to the Quick Attach Plate which allovred
            for the improperly attached equipment to detacb from
            the plaEe and fall upon Plaintiff.
       b. The Quick Attach Plate contaiEed a latch that could not
            properly withstarrd normal exertion placed upon the
            quick attach plate during use of the equipment and
            tractor involved in thiE case which allowed the grapple
            to dislodge and fa11 resulting in injures to PlainEiff.
            c.    The Quick Attach Plate had insufficieut safeguards to
                  preveDt a grapple or other attacbment from detaching
                  from the quick attach plate when the quick attach was
                  fu1ly extended which alLowed bhe grapple to dislodge
                  and fa11 upon Plaintj.ff,
            d,    Ihe Quick Attach Plate did no! contaj.n adequate
                  warnings of such defects.
            e-    Defendant and its agentss failed to teLl or Barn
                  Plaintiff the qulck attach and or tractor could fail to
                  secure equipment such as a bucket, front-end loader or

            17,    As a direct and proximaCe result of Defendant             SHINDONG

 INDUSTRIAL        CO., LTD. and its agents above neglj.gent aets,
 Plaintiff        JAI,IES MCeDAMS   suffered injuries       i,rhen ghe grapple
 detached from the Quick Attach PlaEe and feII upon Plaint i f f
 causlng him        to suBtain                injuries. plaintiff
                                 sewere and permanent
 was atrd will be hindered end preweated from attendiDg to his
 usual and customary affairs, duEies and occupat.lon, ard has lost

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  and rri.Lf in the future lose the value of that ti-me. Plaint.iff
  also euffered great pain and anguigh, both in mind and bady, and
  will in the future corrtinue to suffer disability and be pievented
  from atcendiag to the ordlnary affairs of life due to his
  injuries        -

        Wherefore, Plaintiff,             JAMES MCADAMS,     praye for   j udgmenE

  againet the Defendant,           SHINDONG INDUSTRIAI        CO., Lm., for an
  amounts        in excess of FIFTY   THOUSAND DOIJ.ARS       ($50,00O.o0), coets
  and 6uch further relief as the Coure deems proper and just..
                                           COUNT     III
                       (Loss of consortiun - Productg Ltabllity)
       Comes nor^,        the Plaintiff,     .fO ANN MeADAMS,     by and through her
 attorneys, ,Iane Unsell and Erin M. Phillips of Unsell, Schattnik
 & Phi.lLips, P.C, and for CounE III of the Complaillt agaiflst the
 Defendant.           SHINDONG INDUSTRIAI     CO., LTD., states that:
                         The Plaintiff,      ,rO ANN MCADAI,IS,   repeats and
 reallegea Paragraphs No. I through t9 of Count I as Paragraph                       No.
 1 through 19 of Count III of her Complaj.nt.
      20, As a proximate result of the ioregoing, the
 Plaintiff, JO ANN MeA.DAMS, vrho was dependent oD iIAMES                 MCADAMS    for
 companionship, losE lhe companionship of her husband,                    .fAMES

 MCADAMS     .


       WHEREFORE,         the Plainaiff,      JO ANN MCADAMS, demands judgment
 in her favor and against the Defendant. SHINDONG INDUSTRIAT                       CO.,
 LTD., in an amount in excess of FIPTY THOUSAND DOITLARS
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  ($5o,Ooo.oo) and     for coets of suit.
                                      colnfr rv
                      (Loss of cortsort,itrE - NegligeDce)
                 the Plaintiff, JO ANN MCADAMS, by and through her
       Comes no\a,

  attorneys, Jane Unse1l and Erin M- Phillips of Unsell, Schattoik
  & Phi11ips, P.c. and for count IV of the complainE agalnst the
  Defendant,    SHINDONG INDUSTRIAI      CO., LrD., states that:
       !-a1 .        PtaintiEf,    JO ANN MCADAMS, repeats and

  rea11ege6 Paragraphs NoE. 1 through 17 of Count II aE Paragraph
 No- L through 17 of Count Iv of her Complaint           -


       18. As a proximate resul! of the foregoing, the
 PtainEj.ff, Jo   A.Itr.l MCADAMS,   liho was dependent on     JAMES MCADAMS        for
 companionship, lost the companiortehip of her husband,                  .fAl"lES

 MCA-DAMS   .


       WHBREFoRE,    the Plaintiff,      JO ANN MCADAMS, demands j udgment
 in her favor and aqainst the Defendant, SHINDoNG INDUSTRIAI co..
 LTD. irr an amount in excess of FIFTY THOUSAND DOIIARS
  ($50,000.00) and for costs of suits.


                                  By. /s./Erin U- Philfips
                                     afarle Unse11, *03124410
                                     Erin M. Phj.lLips, #6289123
                                     Unse11, Schattnik & Philtips P.C.
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